Case 2:20-cv-08781-SPG-MRW Document 121 Filed 03/19/24 Page 1 of 1 Page ID #:1071



    1

    2

    3

    4

    5

    6

    7

    8                       UNITED STATES DISTRICT COURT
    9                      CENTRAL DISTRICT OF CALIFORNIA
   10

   11    DENNIS SEIDER and LEAH SEIDER, as             No. 2:20-cv-08781-SPG-MRW
         Trustees of the Seider Family Trust,
   12                                                            ORDER
                           Plaintiffs,
   13
               v.
   14
         CITY OF MALIBU, et al.,
   15
                           Defendants.
   16

   17         The Court, having considered the Parties’ Joint Status Report, hereby
   18   ORDERS that this case is stayed for pending the California Coastal Commission’s
   19   consideration of the Seiders’ application to permit their sign, or for 160 days,
   20   whichever occurs sooner.
   21

   22         IT IS SO ORDERED.
   23

   24         Dated: March 19, 2024           ________________________________
   25                                         HON. SHERILYN PEACE GARNETT
                                              UNITED STATES DISTRICT JUDGE
   26

   27

   28

                                              1
